Filed:  January 27, 2000




IN THE SUPREME COURT OF THE STATE OF OREGON




JOHN KENNETH BOCKERICH,


	Petitioner on Review.


	v.


BOARD OF PAROLE AND 

POST-PRISON SUPERVISION,


	Respondent on Review.


(CA A93373; SC S44369)



	On review from the Court of Appeals.*


	On petition for review filed July 16, 1997.


	Hari Nam S. Khalsa, Deputy Public Defender, Salem, filed the petition for
petitioner on review.  With him on the petition was Sally L. Avera, Public Defender.


	No appearance contra.


	Before Carson, Chief Justice, Gillette, Van Hoomissen, Durham, and Leeson,
Justices.**


	MEMORANDUM OPINION


	The petition for review is allowed.  The decision of the Court of Appeals is
vacated.  The case is remanded to the Court of Appeals with instructions to dismiss the
petition for judicial review.  See&nbsp;Quintero v. Board of Parole, 329 Or 319, 986 P2d 575
(1999).


	*Judicial review from the Board of Parole and Post-Prison Supervision.

	148 Or App 637, 939 P2d 678 (1997).


	**Fadeley, J., retired January 31, 1998, and did not participate in this decision;
Graber, J., resigned March 31, 1998, and did not participate in this decision; Kulongoski
and Riggs, JJ., did not participate in the consideration or decision of the case.



